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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Murray Rubinstein, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:14−cv−09465
                                                      Honorable Robert M. Dow Jr.
Richard Gonzalez, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 12, 2018:


        MINUTE entry before the Honorable Maria Valdez: Defendants' response to
Plaintiffs' Motion for Class Certification and supporting expert report(s) due by 3/15/18.
Plaintiffs' reply is due by 4/26/18. Mailed notice(lp, )




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